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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            GAINSVILLE DIVISION

CAMILLA KRUITBOSCH and
LAURA JUNIO,
                                              CASE NO.: 1:18-cv-00054-MW-GRJ
     Plaintiffs,
v.
ALLY FINANCIAL, INC.,

     Defendant.
                                   /
         JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

          COMES NOW the Plaintiffs, CAMILLA KRUITBOSCH and LAURA

JUNIO, and the Defendant, ALLY FINANCIAL, INC., and pursuant to Fed. R.

Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, without prejudice, each claim

and count therein asserted by Plaintiff against the Defendant in the above styled

action, with Plaintiff and Defendant to bear their own attorney’s fees, costs and

expenses.

          Respectfully submitted this 26th day of August, 2019.

/s/ Octavio Gomez                             /s/ Gillian Williston
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